UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


XIN “KELLY” YANG and TING “SUSAN”
CHEN, on behalf of themselves and all others
similarly situated,

                     Plaintiffs,

                        v.                         CLASS ACTION COMPLAINT

A FEI, SHUYUN CHEN, YU “RITA” CHEN,                 JURY TRIAL DEMANDED
YUEZHU DU, YURONG “MARY” HU, YUXIA
HU, XUE “LINDA” LIN, QILONG “LUCY” LIU,
                                                          Case No.
LIJUN OUYANG, JINGYI SHEN, WENLING
“ABBY” WANG, YUN YE, NAN “LUCAS”
ZHENG, XIAONA “LINA” ZHOU, LEI “ANDY”
ZHU, ASZ SUPPLY INC., AND DOE
DEFENDANTS 1-100,

                     Defendants.




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        Xin “Kelly” Yang and Ting “Susan” Chen (“Plaintiffs”), on behalf of themselves and all

others similarly situated individuals (“Class,” defined in more detail below), seek damages and

injunctive relief against A Fei (“the Boss”),1 Shuyun Chen (“S. Chen”), Yu “Rita” Chen (“Y.

Chen”), Yuezhu Du (“Du”), Yurong “Mary” Hu (“M. Hu“), Yuxia Hu (“Y. Hu”), Xue “Linda”

Lin (“Lin”), Qilong “Lucy” Liu (“Liu”), Lijun Ouyang (“Ouyang”), Jingyi Shen (“Shen”),

Wenling “Abby” Wang (“Wang”), Yun Ye (“Ye”), Nan “Lucas” Zheng (“Zheng”), Xiaona

“Lina” Zhou (“Zhou”), Lei “Andy” Zhu (“Zhu”), ASZ Supply Inc. (“ASZ”), and Doe

Defendants 1-100 (collectively “Defendants”). Except for matters within Plaintiffs’ personal

knowledge, all allegations are made on information and belief.

                                         I.       INTRODUCTION

        1.       This class action arises from a massive, corrupt enterprise that will be referred to

as the “Enterprise” or “HomeX,” after one of the Enterprise’s main websites and entities,

www.homexdeals.com. The Enterprise entailed, among other things, a Ponzi scheme, which will

be referred to as the “Deposit Scheme” or simply the “Scheme.”

        2.       The Deposit Scheme entailed deceiving Chinese-speaking shoppers into

believing that they could obtain home furnishings and other goods at a steep discount if they

paid Defendants and their co-conspirators deposits for these goods (“Deposits”) and waited to

receive large refunds of, at a minimum, the amount of the Deposits themselves. The Enterprise

also involved convincing customers to buy into the HomeX club membership, which Defendants

and their co-conspirators claimed would entitle customers to even larger rebates on their

purchases or effectively receive the products for free. Defendants and their co-conspirators



1
 A Fei is a nickname, and, as discussed in more detail below, was widely referred to as “the Boss” of the
enterprise. Plaintiffs do not yet know his real name.

                                                         4
asserted that the source of these rebates was that A Fei and other principals of the Enterprise

would profitably invest the Deposits and membership fees in the short term, permitting the

Enterprise to generate the income necessary for the promised refunds. In addition, Defendants

and their co-conspirators also claimed that they were offering products at extremely low prices

or practically free because they were trying to accumulate a large following. They also claimed

that by becoming “bestsellers” (i.e., sellers with high sales volume), HomeX would make more

money. They further claimed that they were willing to give products away for free or very

cheaply because “Chinese people help other Chinese people” and that this “patriotic” assistance

was made possible by the money that they had “fleeced” Americans out of.

       3.      All of this was false and misleading, and Defendants and their co-conspirators

either knew or recklessly disregarded that.

       4.      The truth was that no club existed; that there was no legitimate mechanism to pay

refunds; and that it was a Ponzi scheme. Refunds were “paid” from Deposits and membership

fees paid by new customers, in classic Ponzi fashion. Defendants and their co-conspirators knew

or recklessly disregarded this scheme was unsustainable, and they pocketed most of the Deposits

for themselves, without telling Plaintiffs and the Class they were doing so. As a result, most

customers, including Plaintiffs and the Class, suffered large losses. Plaintiff Yang, for example,

has lost over 60,000 USD, and nearly 60,000 RMB. Plaintiff Chen has lost over 10,000 USD.

Meanwhile, based on information currently known to Plaintiffs, the Class has lost at least 7

million USD, and 12 million RMB.

       5.      A Fei was the leader of the Enterprise and was referred to by HomeX

administrators as “the Boss.” A Fei had previously operated earlier iterations the Enterprise

beginning as early as 2018.


                                                 5
          6.      In the form known as HomeX, the Enterprise began no later than early 2020, and

began collapsing in late 2022, when certain insiders alerted customers that, in the insiders’

words, HomeX was a “scam.” However, in early 2023, Defendants and their co-conspirators

immediately launched a new iteration, which they called FXD, using the website

www.furniturexdeals.com.

          7.      The Deposit Scheme aspect of the Enterprise was carried out in large part via

dozens of WeChat2 groups, with day-to-day responsibilities resting in individuals known as

“administrators” (“Administrators”).3

          8.      The Administrator Defendants (defined below) were responsible for promoting

the Enterprise and the Deposit Scheme; soliciting money from customers, including Plaintiffs

and the Class; issuing refunds; administering the WeChat groups in which the Deposit Scheme

was carried out; and managing staff and assistants.

          9.      Defendants and their co-conspirators engaged in at least two forms of

racketeering activity from between no later than early 2020 to at least late 2022, namely

mail/wire fraud in violation of 18 U.S.C. §§ 1341 and 1343, and money laundering in violation

of 18 U.S.C. § 1956. Additionally, based on their attempt to launch FXD in early 2023, in the

immediate aftermath of the HomeX Deposit Scheme, it is likely that this pattern of racketeering

has and will continue.




2
  Wechat is a chat app widely used in China and among Chinese-speaking communities in the United States. In
addition to allowing participants to chat both one-on-one and in groups, it also allows participants to make and
receive payments, generally in Chinese currency (RMB).
3
    The Chinese term they used was guanliyuan (管理员).

                                                          6
                               II.     JURISDICTION AND VENUE

        10.     This Court has subject matter jurisdiction over Plaintiffs’ claims under 28 U.S.C.

§ 1331 and under 18 U.S.C. § 1964(c).

        11.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2), because a

substantial number of the events giving rise to this action occurred in this District. It is also

proper under 18 U.S.C. § 1965(a) because the Defendants reside, are found, have agents, or

transact their affairs in this District.

                                           III.   PARTIES

        A.      Plaintiffs

                i.       Xin “Kelly” Yang

        12.     Xin “Kelly” Yang is a resident of Washington. Plaintiff Yang was a customer of

the HomeX Enterprise and the Deposit Scheme. Plaintiff Yang lost more than 60,000 USD and

60,000 RMB by reason of the misconduct of Defendants and their co-conspirators.

                ii.      Ting “Susan” Chen

        13.     Ting “Susan” Chen is a resident of New York. Plaintiff Chen was a customer of

the HomeX Enterprise and the Deposit Scheme. Plaintiff Chen lost more than 10,000 USD by

reason of the misconduct of Defendants and their co-conspirators.

        B.      Defendants

                i.       A Fei, or, “the Boss.”

        14.     A Fei, or, as he was referred to by HomeX Administrators, the Boss, is the leader

of the Enterprise and the mastermind of the Deposit Scheme, as well as other fraudulent

schemes engaged in by the Enterprise. His name is believed to be Chuwen Xu and he is believed

to live in the People’s Republic of China.



                                                   7
                 ii.      Administrator Defendants

        15.      “Administrator Defendants” refers to those listed in this subsection, except for

Lei “Andy” Zhu and ASZ Supply, Inc. All Administrator Defendants: (1) marketed the

Enterprise and the Deposit Scheme to potential victims; (2) ran WeChat groups that

administered the Enterprise and the Deposit Scheme; (3) took product orders and money from

victims; (4) were compensated for their roles in administering the Enterprise and Deposit

Scheme; (5) had access to and reviewed internal documents and communications revealing the

fraudulent nature of the Enterprise and Deposit Scheme; and (6) made false and misleading

statements and omissions to victims about the Enterprise and Deposit Scheme, including by

failing to disclose that the Enterprise and Deposit Scheme were fraudulent.

                          a.       Shuyun Chen

        16.      Shuyun Chen was the Administrator of the WeChat group entitled “联系不了加

小号 shuchen8051988,” which translates to “If you can’t reach me, add my small account

shuchen8051988.”4 Defendant S. Chen helped victims order items and dealt with payment

processing. Defendant S. Chen also had an unknown assistant (alias “ALAIA”) responsible for

record-keeping.

        17.      Defendant Chen is a resident of Pennsylvania.




4
 The concept of a “small account” appears intended to convey the idea that this Defendant would offer
personalized service if victims communicated with Defendant on that account.

                                                        8
                          b.       Yu “Rita” Chen

        18.      Yu “Rita” Chen was the Administrator of at least ten HomeX WeChat groups,

one of which was entitled “HomeX 高端家居产品免费送 3,” which translates to “High-end

Home Products Delivered for Free 3,” and at least nine others with variations on the name.5

        19.      Defendant Y. Chen had several subordinates who acted as HomeX

Administrators themselves, and Defendant Y. Chen took a cut of their HomeX earnings.

        20.      Defendant Y. Chen is a resident of New York.

                          c.       Yuezhu Du

        21.      Yuezhu Du was the Administrator of the HomeX WeChat group entitled “心的感

觉- homex 管理员-Yuezhu Du 2022-04-09,” which translates into “The heart’s feelings -homex

administrator - Yuezhu Du 2022-04-09.” Defendant Du helped victims process orders, answered

questions, and explained HomeX’s transaction model to victims.

        22.      Defendant Du is a resident of New York.

                          d.       Yurong “Mary” Hu

        23.      Yurong “Mary” Hu was the Administrator of several HomeX WeChat groups

including one entitled “Home X 家具群土豪群” which translates to “Home X Furniture

Nouveau Riche Group.”

        24.      Defendant M. Hu is a resident of New York.




5
 It appears that the name of each additional group Defendant Y. Chen ran had the same name but that she added a
higher decimal to the number at the end of the second group’s name in each case. For example, the second group’s
name ended in 3.1, third group’s name ended in 3.2, and so on.

                                                        9
                       e.     Yuxia Hu

       25.     Yuxia Hu was an Administrator using a WeChat account with the name “紫玫瑰

对帐中消息延迟回复,” which translates to “Purple Rose – reconciling accounts, response may

be delayed.” Defendant Y. Hu helped victims process orders and asked victims to Zelle the

Deposit to her bank account under the name “Yuxia Hu.” Defendant Y. Hu urged victims to

place the orders by telling them if they did not place orders soon, the items would be out of

stock on Amazon. Defendant Y. Hu claimed she could offer refunds within a month—

significantly faster than other administrators—and encouraged victims to choose her as their

Administrator for their orders.

       26.     Defendant Y. Hu’s residence is currently unknown.

                       f.     Xue “Linda” Lin

       27.     Xue “Linda” Lin was an Administrator using a WeChat account with the names

of Xue Lin (Linda) and “快乐宝贝专业办理免税号,” which translates to “Happy Baby –

Account for Professional Coordination Tax Exemption.” Defendant Lin marketed HomeX to

victims by showing them product photos, including but not limited to tables, chairs, and beds,

and encouraged them to place orders. Defendant Lin also guided victims through the order

process, addressing their inquiries, and how to leave reviews on Amazon favoring the

Enterprise.

       28.     Defendant Lin is a resident of New York.

                       g.     Qilong “Lucy” Liu

       29.     Qilong “Lucy” Liu was an Administrator using a WeChat account with the name

“努力对帐中,” which translates to “Working Hard on Account Reconciliation.” Defendant Liu

gave victims detailed instructions on how to obtain refunds from online retailers (particularly

                                                10
Amazon) while circumventing the need to return the products. Defendant Liu also instructed

victims to use a variety of payment methods and account details, such as Zelle, Alipay, and

WeChat Pay, to facilitate transfer of their money to the enterprise.

        30.      Defendant Liu is a resident of Michigan.

                          h.       Lijun Ouyang

        31.      Lijun Ouyang was an Administrator using a WeChat account with the name “军

【代发 换标 海外仓 测评,” which translates to “Jun [Army] Proxy shipping, Relabeling,

Overseas warehouse(s), Product Testing and Reviews.” Defendant Ouyang later changed that

account name to “海外仓,” which translates to “Overseas warehouse(s).” Defendant Ouyang

crafted instructions for victims, guided them through the refund process in exhaustive detail,

particularly for products delivered from Amazon. Defendant Ouyang also provided an array of

financial accounts for transactions, employing various names and details in an attempt to

obscure the purpose of these transactions.

        32.      Defendant Ouyang is a resident of Pennsylvania.

                          i.       Jingyi Shen, Lei “Andy” Zhu, and ASZ Supply, Inc.6

        33.      Jingyi Shen was the Administrator of a HomeX group initially entitled “西瓜酱-

免评产品家具家电家居,” which translates into “Watermelon Sauce – No-product-review7

furniture, appliances, home décor.”8 Jingyi Shen was also the Administrator of the similarly-




6
 Defendants Zhu and ASZ were not themselves Administrators, but are listed here because of their close
association with Defendant Shen.
7
 This may be a reference to the fact that some e-commerce schemes involve a requirement that a participant leave
product reviews.
8
 This group changed its name to “草莓酱-HomeX 咨询 2 群,” which translates into “Strawberry sauce – HomeX
consultation group 2” in 2023.

                                                       11
titled “草莓酱-HomeX 免评家具家电数码,” which translates to “Strawberry Sauce – HomeX –

No-product-review furniture, appliances, digital.” Lei “Andy” Zhu is her husband, though they

hid that fact from customers. Defendants Shen and Zhu jointly owned and managed ASZ

Supply, Inc., which received Deposits and other monies from Plaintiffs and the Class.

       34.     Defendants Shen and Zhu are residents of Georgia.

       35.     Defendant ASZ is organized under the laws of New Jersey. It was formed on

November 16, 2020. A certificate of dissolution was filed on December 5, 2022—just as the

HomeX Deposit Scheme was collapsing.

                      j.      Wenling “Abby” Wang

       36.     Wenling Wang was the Administrator of the WeChat group entitled “Home X-

Abby 高端产品免费送,” which translates to “HomeX-Abby High-end products are given away

for free.” Defendant Wang used Abby as her account name but later changed it to “对帐中，请

发所有订单一一核对 2022-03-04,” which translates to “Reconciliation in progress, please send

all orders for verification one by one 2022-03-04.”

       37.     Defendant Wang is a resident of Nebraska.

                      k.      Yun Ye

       38.     Yun Ye was an Administrator using a WeChat account with the name “云 (贴标

换标),” which translates to “Yun [Cloud] (Labeling [and] Relabeling).” Defendant Ye was

involved in arranging purchase orders and refunds. He supplied numerous victims with multiple

different financial account details and encouraged them to transfer their money to the Enterprise.

Defendant Ye cooperated closely with Defendant Ouyang and sometimes requested that they

select “Jun,” that is, Defendant Ouyang, as the Administrator to process refunds.

       39.     Defendant Ye is a resident of New Jersey.
                                                12
                      l.      Nan “Lucas” Zheng

       40.     Nan Zheng was the Administrator of the WeChat group entitled “HomeX Lucas.”

He asked victims to transfer Zelle payment to accounts under the name of Nan Zheng. He also

had an unknown assistant (alias “Q”) who assisted in answering victims’ questions and

recording the payments.

       41.     Defendant Zheng is a resident of Wisconsin.

                      m.      Xiaona “Lina” Zhou

       42.     Xiaona “Lina” Zhou was the Administrator of the HomeX WeChat group entitled

“HomeX 莉娜管理员对接群 1,” which translates to “HomeX Administrator Lina coordination

group 1.” Defendant Zhou helped victims process orders and answered their questions.

Defendant Zhou even reassured victims that HomeX team was operating smoothly and there

was no issue of refunds not being issued. Defendant Zhou also had many unidentified assistants

who helped Zhou operate group chats, such as one who went by the alias “x 神婆 (roughly,

‘Witch x’),” and one who went by the alias “Fang Li.”

       43.     Defendant Zhou is a resident of Virginia.

               iii.   Doe Defendants 1-100.

       44.     The Doe Defendants 1-100 are those who participated in the conduct of the

Enterprise and the Deposit Scheme or conspired to do so by, for example, providing warehouses

for furniture sold via the Enterprise, or by providing accounting, money management, or similar

services to the Enterprise, while knowing or recklessly disregarding that they were aiding and

abetting mail and wire fraud. They will be named after a reasonable opportunity for discovery.




                                               13
                                         IV.     FACTS

       A.      The Deposit Scheme.

       45.     The HomeX Enterprise entails multiple fraudulent schemes. One such scheme

was the Deposit Scheme, which entailed a purported method of obtaining home furnishings and

other high value goods from e-commerce outlets like Amazon, for little more than the sales tax.

As Plaintiffs and the Proposed Class were told, all they had to do was contribute a refundable

deposit (“Deposit”), usually several multiples of the price of the item they wanted to purchase, to

HomeX. The Chinese term for the refundable deposit was quanhuojin (圈货金), which

translates roughly into “deposit for group goods.” It conveys the notion that the monies were

related to participation in a group purchasing arrangement.

       46.     Plaintiffs and the Proposed Class were told that HomeX would be able to

generate returns on the Deposits through the business acumen of HomeX’s principals, including

A Fei, which returns would enable HomeX to eventually refund the Deposits, as well as the

item’s purchase price, less sales tax.

       47.     All this was false. The principal source of monies for refunds was not returns

generated on Deposits by the business acumen of A Fei or others. Rather, it was monies

contributed by later customers. It was, in other words, a Ponzi scheme.

               i.      Homexdeals.com

       48.     One of the vehicles for the Deposit Scheme was a website, homexdeals.com.

Though now defunct, historical captures show parts of the Scheme’s workings.

       49.     For example, Figure 1 below is from a December 7, 2021 capture of the website,

available at https://web.archive.org/web/20211207194941/http://homexdeals.com/.




                                                14
                                                       Figure 1

         50.      The QR code on the top left was for customers who had not yet been assigned a

manager, and scanning it would lead the customer to a HomeX WeChat group where they would

be so assigned.

         51.      Figure 2 below shows a screenshot of the QR code. The top text reads: “If you

don’t have an Administrator, please scan the below QR code to add an Administrator and place

orders.” The text in bold translates into: “HomeX-Lucy – group for making Administrator

pairings 10-2.”9




9
 Since there is a group chat entitled “10-2”, it is a reasonable inference that there may be other group chats such as
“10-1”, “10-3, each involving many victims.

                                                          15
                                                 Figure 2

       52.     Once paired with an Administrator, customers were offered multiple ways of

ordering products and obtaining refunds. What all had in common was a requirement that a

Deposit in an amount that was usually several multiples of the product’s listed price be paid.

HomeX and its Administrators represented that, after a certain amount of time, the Deposit

would be refunded in whole or in part, resulting in the customer obtaining the product for a

substantial discount or even free. The actual final price varied by item or level of membership,

and the turnaround time for the refund varied over the course of the Scheme.

       53.     Figure 3 below is illustrative.




                                                   16
                                            Figure 3

       54.    The top half of the page displayed so-called “Amazon Orders,” while the bottom

half of the page displayed so-called “Address Orders.”




                                               17
        55.      Beginning with the Address Orders, the associated text displays, among other

things, the required Deposit for each item.10 For example, if customers wanted to buy one of the

chairs in the first row, they would have to pay a specific amount as a Deposit, which was

generally several times higher than the actual value of the merchandise. HomeX represented that

customers would later be either fully or partially refunded after they paid the Deposit.

        56.      As for the Amazon Orders, the required Deposit is not displayed in the above

screenshot in part because, at the time, the links are not to particular items but to particular

storefronts, many if not most were owned and controlled by A Fei and A Fei’s co-conspirators.

The associated text explains that not all items in the linked stores are eligible for the Deposit

Scheme, and instructs customers to coordinate with the Administrators with whom they’d been

paired about particular items. In addition, it also instructs customers to pay specified Deposits to

HomeX, and also pay the original price of the merchandise on the Amazon website. In later

stages, there were far more items than in earlier stages and links to particular items were directly

provided to victims.

        57.      Other spreadsheets were used to list the required Deposits for Amazon Orders.

For example, the below screenshot is of one tab in one cloud-based spreadsheet for Amazon

Orders.11




10
  Items ordered via Address Orders only ever had Deposit prices associated with them; no purchase price was ever
given. However, some Address Order also had a “Self-Pay Price.” The Self-Pay Price was variation on the Deposit
Scheme. Whereas a typical Address Order would normally entail the refund of 100% of the Deposit (after a long
period of time), the Self-Pay Option entailed the refund of some amount less than 100%, in exchange for various
benefits, such as faster delivery times, a lower overall Deposit amount, etc.
11
   As of this writing, the URL still works. However, other URLs associated with HomeX no longer work or are not
accessible to the public. The URL for this particular spreadsheet is:
https://docs.qq.com/sheet/DR1BJTHpBS011em91?tab=1qd5br.

                                                       18
                                              Figure 4

        58.      The title of the spreadsheet includes the phrase “HomeX FBA,” which refers to

“Fulfillment by Amazon,” an Amazon program whereby merchants can sell their products on

the Amazon website, and pay Amazon to handle shipping, customer service, returns, and the

like. That is likely because, earlier in the Scheme, HomeX and its co-conspirators actually ran

some of the underlying stores. In any event, and as discussed in more detail below, by the end of

the Scheme, HomeX did not limit orders to FBA, or indeed, to either Address Orders or Amazon

Orders at all.

        59.      As can be seen in the above screenshot, the spreadsheet includes a link to

particular products, pictures of those products, and two columns of numbers. The first column

lists the required Deposit, and the second column lists the number of days it will take to get the

promised refund.




                                                 19
       60.     For example, for the nightstand on the first row, the HomeX Deposit is $500

USD, and the number of days is 90. Meanwhile, the link pointed to the below product listed on

Amazon for $159.99 USD.




                                             Figure 5

       61.     As can be seen, the required Deposit is several times the actual price of the item.

Defendants and their co-conspirators represented to Plaintiffs and the Proposed Class that both

the Deposit and the purchase price would be refunded—in this case, within 90 days.

               ii.    “Amazon Orders.”

       62.     The screenshots below are of a conversation in which Plaintiff Yang places

Amazon Orders with Defendant Shen.




                                                20
                        Figure 6                                                 Figure 7

        63.      In Figure 112, Plaintiff Yang sends Defendant Shen screenshots of two items

listed on Amazon, an oven and a chair. In the second screenshot, Plaintiff Yang asks if her




12
  Plaintiff Yang was previously acquainted with Defendant Shen via a WeChat group for pet-related products.
Thus, her initial message to Defendant Shen asks whether the latter was indeed the same person/account as in the
earlier pet-related group.

                                                        21
understanding is correct that, for the chair, she would need to pay a Deposit of $699 USD to

Defendant Shen before ordering the item from Amazon.

       64.     Defendant Shen’s response, shown in Figure 2, appears to have been a form one,

copied and pasted from elsewhere. It states: “For Amazon Orders, a quanhuojin (Deposit) is

required to place orders, and gift cards are not accepted! Delivery of the item is very fast, and

you will receive the refund sixty days after delivery. On Amazon, you must pay using a credit

card, and not a gift card. As for the refund of the Amazon purchase price, taxes will not be

refunded, and the refund will be in USD. If you need the refund to be in RMB, the exchange rate

will be the lower of 6.39 RMB per USD, or the actual exchange rate at the time of the refund.

For the refund of the Deposit, Deposits paid in USD will be refunded in USD. Deposits paid in

RMB at an exchange rate of 7 RMB per USD will be refunded in RMB, in the same amount as

was deposited.”

       65.     Plaintiff Yang sought clarification that the upshot of the Scheme was that she

would ultimately only have to pay taxes for the items. Defendant Shen responded: “That’s

correct.”




                                                 22
                    Figure 8                                         Figure 9



       66.     In Figure 8, Plaintiff Yang said she wanted to buy both the oven and the chair via

the Deposit Scheme. Defendant Shen said that was fine, and that the Deposit for both could be

paid in one payment. Defendant Shen also said that on Amazon itself, the items must be

purchased in separate orders, rather than as a combined order. She then indicated, in Figure 9,

that the Deposit for both items was “499.99+699.99=1199.98 USD.” She then provided Plaintiff

                                                23
Yang a Zelle account associated with Defendant ASZ for payment of the Deposit, and asked

Plaintiff Yang to send a screenshot confirming such payment, which Plaintiff Yang did.

       67.     Next, Defendant Shen informed Plaintiff Yang that now that the Deposit had

been paid, Plaintiff Yang should go to Amazon, order each item separately, make sure that the

items were “ship[ed] from [A]mazon,” and then: (1) copy the Amazon order number; (2) send a

screenshot of the top part of the order confirmation; and (3) send a screenshot of the bottom part

showing payment details.




                                                24
                     Figure 10                                     Figure 11

       68.    In Figures 10 and 11, Plaintiff Yang acknowledges those requirements, and sends

Defendant Shen screenshots of the Amazon transactions, as well as the Amazon order numbers.

Defendant Shen confirms receipt.

              iii.     “Address Orders.”

       69.    The terms and process for a so-called “Address Order” were slightly different.


                                              25
                    Figure 12                                         Figure 13

       70.     In Figure 12, Defendant Shen responds to an earlier message from Plaintiff Yang

inquiring about such orders, explaining that there is currently a discount on such orders,

whereby customers only have to pay 66% of the normal Deposit—i.e., that there was currently a

34% discount on such orders. Defendant Shen further explains that the Deposit would be

refunded 30 days after delivery of the item, but if the customer were willing to agree to a Self-


                                                26
Pay Price of 10% of the Deposit—that is, agree to have 10% of the Deposit be retained by

HomeX—they could receive “VIP” treatment in the form of delivery in half the normal time

(delivery times for Address Orders were typically months after the order was placed).

        71.     In this figure, Defendant Shen also explains that new customers get a $200 credit

that can be applied to their first order.

        72.     In Figure 13, Defendant Shen provides a homexdeals.com link to a particular

item with a Self-Pay Price of $1,551, and an associated Deposit amount of $5,170. Because of

the 34% discount, these amounts were reduced to $1,024 and $3,412 respectively. Further, as a

new customer, Plaintiff Yang was also entitled to a $200 coupon, further lowering the Self-Pay

Price to $824. Finally, Defendant Shen explains that, if Plaintiff Yang didn’t want to pay the

Self-Pay Price, Plaintiff Yang could pay a higher Deposit in the amount of $6,824 (i.e., double

the Deposit amount associated with the Self-Pay option).




                                                27
                    Figure 14                                         Figure 15

       73.     In Figure 14, Plaintiff Yang asks about two items available via the Address Order

method—a sheep-shaped ottoman, and a paddleboard. Defendant Shen quotes discounted

Deposit amounts of $300 for the first, and $517 for the latter, totaling $847.




                                                28
                   Figure 16                                        Figure 17

       74.    In Figure 16, Defendant Shen instructs Plaintiff Yang to make the $847 in

Deposit payments to two Zelle accounts—one to the account of a person with the alias “jiang,”

and with the phone number (201) 423-3105, and the second to the account for the alias “fang bin

li” and with the email address fangbin@me.com. Plaintiff Yang was also to send screenshots of

proofs of these payments. Plaintiff Yang did so in Figures 16 and 17.


                                               29
       75.      As for why the Deposits were paid to those accounts, Defendant Shen had earlier

explained it.




                                             Figure 18

       76.      In Figure 18, in a conversation from a few weeks earlier, Plaintiff Yang had

asked about why the recipients of the Deposit payments had changed. Defendant Shen explained

that the reason was that the recipients were HomeX customers who had just become entitled to a


                                                30
refund of their Deposits and that having customers pay each other directly in this way simplified

things and reduced the number of transactions. She also noted that customers would not want to

repeatedly receive payments from the company’s Zelle account.13

        77.      These statements were knowingly or recklessly false. The real reason for this

arrangement was that, contrary to Defendants’ representations, the source of HomeX’s ability to

offer such rebates was not HomeX’s ability to generate profits using the Deposits, but was rather

HomeX’s continual receipt of new Deposits. HomeX was, in short, a Ponzi scheme, bound to

collapse. This it did, as discussed in more detail below.

                 iv.      The Deposit Scheme evolves to lure additional victims.

        78.      The foregoing summarizes the basics of the Deposit Scheme. Over time,

additional wrinkles emerged, as Defendants sought to trick customers into giving them more

money. For example, HomeX began to offer membership tiers that affected the amount of the

Deposit: these included the Ordinary, Fans, and Green Card tiers. Customers could pay to

become HomeX Fans by paying HomeX a certain sum in exchange for lower Deposit amounts

on their orders, while a Green Card membership cost more (and at one point cost $1,200) but

would exempt members from having to make any more Deposit payments at all.

        B.       The False Amazon Return Scheme.

        79.      The HomeX Enterprise also entailed at least one other fraudulent scheme,

targeting Amazon. When customers purchased items via Amazon Orders, HomeX’s



13
   Among the reasons that victims might have wanted to avoid repeatedly receive Zelle payments from HomeX
directly included that such might cause their Zelle accounts to be flagged or frozen, which indeed occurred in 2023
to several victims. Additionally, because many victims had large amounts on deposit with HomeX, many wanted to
avoid causing trouble for HomeX, including the risk that HomeX’s Zelle accounts might be frozen, which would
put their own refunds at risk. In short, although victims generally preferred to pay Deposits to HomeX’s Zelle
accounts, in no small part because doing so would leave a record, many gradually accepted HomeX’s requirement
that Deposits be paid directly to other buyers awaiting refunds.

                                                        31
Administrators sometimes initiated fraudulent returns on those items. They were able to do so

because they or others, including Doe Defendants, controlled the Amazon storefronts from

which the items were purchased. They did so regardless of whether customers were satisfied

with the items, which were not returned to Amazon. And they did so in part because the HomeX

Enterprise was not willing or able to fund the refund of the Deposits to customers on its own,

and thus effectively used Amazon’s money to fund some or all those refunds.

       80.     Another variation on the Amazon return scheme was when the HomeX

Administrators asked customers to apply for refunds via Amazon’s “A-to-z Guarantee”

program. The Amazon A-to-z Guarantee program is a guarantee that protects buyers when they

purchase items from third-party sellers on Amazon that are also fulfilled by those sellers. It

covers the condition and timely delivery of the items, and buyers can request a full

reimbursement or cancel their authorized payment if they are not satisfied with the purchase.

HomeX sometimes asked customers to submit refund requests via the A-to-z Guarantee

program, with some Administrators, including Defendant Y. Chen, even providing detailed

guidance to victims on how to interact with Amazon customer service to ensure Amazon would

provide the refund. In so doing, HomeX was able to keep monies it had received from victims

while claiming to have provided victims with the promised refunds.

       C.      Defendants knew or were recklessly indifferent to the truth about the
               Deposit Scheme.

       81.     All Defendants knew or were recklessly indifferent to the fact that the Deposit

Scheme was a Ponzi scheme or otherwise fraudulent.

       82.     For example, on or around August 18, 2021, Defendant Y. Chen was explicitly

confronted with the fact that the economics of the Deposit Scheme did not make sense and was

directly asked how HomeX made money.

                                                32
       83.     Defendant Y. Chen’s response was to emphasise the “benefits” that customers

obtained from the Scheme, and the importance of “introducing more people to join” the

Scheme—all but admitting, therefore, that it was a Ponzi. Indeed, when told that such would

only create a “vicious cycle,” Defendant Y. Chen did not deny it, and instead doubled down on

the benefits of participating in the Scheme. Not only that, she explicitly acknowledged that

customers had to “accept some risk” if they were going to participate. Despite all this,

Defendant Y. Chen continued to solicit customers for the Deposit Scheme and to take their

money until late 2022.

       84.     As another example, in March 2022, Defendant Wang told a group of victims:

“when placing an order, be prepared for the worst-case scenario—you might not get your money

back.” She also said that “the worst-case scenario is the boss running away.”

       85.     Similarly, in April 2022, Defendant Hu admitted that she had serious doubts of

the legitimacy of the Scheme. Specifically, she said that she was not “100% sure” whether

buyers would receive all their money back or receive all of the products they ordered.

Additionally, she said that if others should “run off” with the money, customers should not

“come looking for me.” She even tried to reassure customers who made their purchases from

Amazon and using credit cards that Amazon and the credit card companies would “protect” any

customers who’d been defrauded. Despite all this, Defendant Hu continued to solicit customers

for the Deposit Scheme and to take their money until late 2022.

       86.     Worse, when the Scheme unraveled, Defendant Hu blamed the victims, pointing

out that she’d warned them to “spend rationally,” but that “no one listened to me, and now that

there’s a problem, they all want me to compensate them.” The problem with Defendant Hu’s




                                                33
self-serving account was that she’d personally devoted considerably energy to getting the

customers she was responsible for to increase their spending, which they did.

       87.    As another example, one of Defendant Y. Chen’s subordinates, known as

“Xiaomi,” knew no later than the fall of 2022 that the Deposit Scheme was fraudulent. In

particular, in November 2022, Xiaomi told one customer that Xiaomi had quit working for

Defendant Y. Chen because Xiaomi suspected that HomeX and the Deposit Scheme were

fraudulent.

       D.     The Deposit Scheme unravels.

       88.    By the end of 2022, the Deposit Scheme was beginning to collapse, in that, by

then, hundreds, if not thousands, of customers had made Deposits with HomeX which were due

to be refunded but which were not.

       89.    Then, in December 2022, the Administrator of one of the WeChat groups, known

as “Jun,” posted a message stating that the entire Deposit Scheme was a “scam,” and that “the

boss,” that is Defendant A Fei, “took the money and ran!”

       90.    The next day, Defendant A Fei posted an announcement in all HomeX WeChat

groups asserting that, in fact, it was “Jun” who was the bad actor, while making excuses for why

Deposits had not been timely refunded as promised.

       91.    In the wake of the collapse of the Deposit Scheme, multiple lawsuits were filed,

mostly in small claims court, some of which have resulted in judgments. For example, on

September 11, 2023, certain victims of the Scheme obtained a default judgment against

Defendants Shen and Zhu in the amount of $14,999 in a Georgia small claims court.




                                               34
             V.     SPECIFIC MISREPRESENTATIONS AND OMISSIONS

       92.    In connection with the Enterprise, the Deposit Scheme, and the False Amazon

Return Scheme, Defendants and their co-conspirators made numerous misrepresentations and

omissions. Below are examples of those misrepresentations and omissions.

              a.     On or around January 18, 2021, in a group chat, Defendant A Fei

                     encouraged victims to submit Amazon refund requests, and stated that it

                     was “very safe” to do so, while omitting to disclose that doing so was part

                     of a fraudulent scheme aimed at benefiting A Fei and his co-conspirators.

                     As a result of Defendant A Fei’s instructions, return requests were in fact

                     submitted to Amazon, and Amazon in fact issued refunds. All this was

                     false and misleading because: (1) as to Amazon, it falsely asserted to

                     Amazon that some defect existed with the order, when in fact none did;

                     and (2) as to customers, it falsely suggested that the return requests were

                     legitimate, when in fact they were not, and were intended to defraud both

                     customers and Amazon for the benefit of Defendants and their co-

                     conspirators.

              b.     On or around August 18, 2021, Defendant Y. Chen told a victim who

                     asked how the Deposit Scheme worked to the benefit of HomeX’s

                     principals and sellers that “they had a way to make money.” This was

                     false and misleading because it failed to disclose the true nature of the

                     Deposit Scheme, which was that it was funded by Deposits made by later

                     victims, and because it failed to disclose that the way HomeX’s principals

                     made money was by taking money from victims.


                                               35
c.   On or around September 14, 2021, Defendant Y. Chen encouraged a

     victim to submit an Amazon refund request via Amazon’s A-to-z

     Guarantee program, stating that the reason was that the Amazon

     storefront from which the victim had purchased the item was now closed,

     while omitting to disclose that the storefront was part of a fraudulent

     scheme. As a result of Defendant Y. Chen’s encouragement and guidance,

     many refund requests were made to Amazon’s A-to-z Guarantee program.

     All this was false and misleading for the same reasons as set forth above.

d.   On or around November 20, 2021, Defendant Zheng placated a customer

     who was worried about getting the promised Deposit refund if the

     customer placed an Amazon Order by telling the customer not to worry

     because the customer had already gotten a refund after placing an Address

     Order, such that there was nothing to worry about with respect to Amazon

     Orders. This was false and misleading because Defendant Zheng omitted

     to disclose that the refunds were funded by Deposits made by later

     customers, such that there was plenty to worry about with respect to both

     Amazon and Address Orders.

e.   On or around March 4, 2022, Defendant Wang told customers that the

     Enterprise and the HomeX Deposit Scheme had been operating for two

     years already, and that in that time “many people have received [both]

     their goods and refunds.” That was false and misleading because it

     omitted to disclose that the Deposit Scheme was a Ponzi scheme,

     whereby refunds were being paid out of later customers’ Deposits, such


                              36
     that, even Defendant Wang’s statement were literally true, it failed to

     disclose the true risk of making Deposits with the Enterprise.

f.   On or around March 4, 2022, Defendant Wang told customers that the

     reason Deposits were not being timely refunded was that the number of

     orders was increasing, that the administrative team was relatively small,

     and that “extending the refund time allows the group leader to ship faster

     and the administrators to interact with customers more efficiently and

     smoothly, ensuring better service for everyone,” all while encouraging

     them to place more orders. This was false and misleading because

     increasing orders, an insufficient administrative team, faster shipping,

     efficient and smooth customer interaction, and better service were not the

     main reasons for delayed refunds, and because it omitted to disclose that

     the main reason Deposits were not being timely refunded was that

     Deposit refunds were being paid from later customers’ Deposits, i.e., that

     it was a Ponzi scheme, and that, as such, the promised refund schedule

     could not be met and would inevitably result in Deposits that would never

     be refunded.

g.   On or around April 4, 2022, Defendant Hu told customers that, because

     HomeX and its sellers had been operating for two years without running

     away, and while timely refunding Deposits, they were reliable. This was

     false and misleading because it omitted to disclose that Deposit refunds

     were being paid by later customers’ Deposits.




                              37
h.   On or around May 5, 2022, Defendant Du told a customer that their

     Deposit would be refunded within 30 days of delivery of the ordered

     product, while omitting to disclose that HomeX had been funding such

     refunds with Deposits made by later customers. This was false and

     misleading because the likelihood that the customer’s Deposit would

     actually be refunded with 30 days was significantly lessened by the fact

     that the source of such refunds was Deposits made by later customers.

i.   On or around June 28, 2022, Defendant Zhou told a customer that

     “everything was normal” with respect to the customer’s HomeX Deposits;

     implored the customer “not to worry” and to “believe me” in that regard;

     while denying that other customers had had trouble getting their Deposits

     timely refunded, while omitting to disclose that HomeX had indeed had

     difficulty timely refunding customers’ Deposits, and while omitting to

     disclose that the principal source of those refunds was Deposits made by

     later customers. This was false and misleading because the truth was that

     HomeX was having trouble timely refunding Deposits, and because

     HomeX was funding such refunds from Deposits made by later

     customers.

j.   On or around July 2, 2022, Defendant Du placated a customer who was

     worried about getting their Deposit refunded by citing the fact that

     another customer, in a different WeChat group, had just been refunded

     more than 3,500 USD. This was misleading because Defendant Du




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                       omitted to disclose that that refund had been significantly delayed, and

                       that it had been funded by Deposits made by later customers.

               k.      In or around December 2022, an Administrator known as Jun accused

                       HomeX of being a scam. The next day, Defendant A Fei made an

                       announcement in all HomeX WeChat groups denying that accusation, and

                       blamed HomeX’s failure to refund victims’ Deposits as promised on Jun.

                       Defendant A Fei’s denial was false and misleading because Jun’s

                       accusation was largely true—the HomeX Deposit Scheme was a scam,

                       and that was the true reason victims’ Deposits had not been refunded.

                                VI.     CLASS ALLEGATIONS

       93.     Plaintiffs sue on behalf of themselves and a class of: All persons in the United

States who made HomeX, FXD, or similar Deposits that were never refunded (the “Class”).

Excluded from the Class are Defendants, their parents, subsidiaries, officers, directors, any

entity in which a defendant has a controlling interest, any entity which has a controlling interest

in a defendant, and the judicial officers to whom this matter is assigned and their staff and

immediate family members.

       94.     Class Identity: The Class is readily identifiable and Defendants or others should

have records identifying its members.

       95.     Numerosity: Plaintiffs do not know exactly how many members of the Class

there are, but it is at least in the hundreds, and more likely in the thousands or tens of thousands,

spread across the United States. Information about the precise number will be more readily

available from the Defendants. In all events, the number and geographic scope of the members

of the Class is such that joinder of all class members is impracticable.


                                                 39
         96.   Typicality: Plaintiffs’ claims are typical of the claims of the members of the

Class because like all such members Plaintiffs’ claims arise from the fact that they made

HomeX Deposits that were never refunded, and the relief Plaintiffs seek is common to the Class.

         97.   Common Questions Predominate: There are common questions of law and fact

specific to the Classes that predominate over any questions affecting individual members,

including:

               a)      Whether Defendants violated RICO;

               b)      Whether by reason of those violations Plaintiffs and the Class were
                       injured in their business or property; and

               c)      The amount of any damages.

         98.   Adequacy: Plaintiffs will fairly and adequately protect the interests of the Class

in that Plaintiffs’ interests are aligned with, and not antagonistic to, those of the other members

of the Class who made unrefunded HomeX Deposits. Further, Plaintiffs have retained counsel

competent and experienced in the prosecution of class actions to represent themselves and the

Class.

         99.   Superiority: A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since individual joinder of all damaged members of the

Proposed Class is impractical. Prosecution as a class action will eliminate the possibility of

duplicative litigation. The relatively small damages suffered by many if not most individual

members of the Classes compared to the expense and burden of individual prosecution of the

claims asserted in this litigation means that, absent a class action, it would not be feasible for

most members of the Proposed Class to seek legal redress. Further, individual litigation presents

the potential for inconsistent or contradictory judgments and would greatly magnify the delay

and expense to all parties and to the court system. A class action presents far fewer case

                                                  40
management difficulties and will provide the benefits of unitary adjudication, economy of scale,

and comprehensive supervision by a single court.

                                   VII.   CLAIMS FOR RELIEF

                COUNT I – RACKETEERING – 18 U.S.C. §§ 1962(c), 1964(c)
                  Against all Defendants, including Doe Defendants 1-100

        100.    Plaintiffs reallege and incorporate by reference each foregoing paragraph as if

fully set forth herein.

        A.      The RICO Enterprise.

        101.    Defendants and their co-conspirators are a group of persons associated together

in fact for the common purpose of carrying out the HomeX Enterprise, which is a criminal

enterprise with the purpose, goal, and effect of defrauding a multitude of individuals and

entities, including Plaintiffs and the Class.

        102.    Defendants and their co-conspirators have organized the Enterprise into a

cohesive group with specific and assigned responsibilities and a command structure, operating

primarily in the United States. While the roles and responsibilities of specific members may

have changed over time, the Enterprise has generally been structured to operate as follows:

                a.        Defendant A Fei is “the Boss” of the Enterprise, and is responsible for

setting the overall strategy and direction of the Enterprise;

                b.        The Administrator Defendants, among others, are or were Administrators

of the Enterprise, and are or were responsible for soliciting new customers, taking orders from

them, and receiving Deposits from them;

                c.        Defendants Zhu and ASZ, among others, are or were participants in the

Enterprise, and are or were responsible for handling monies received from customers, including

Deposits and keeping records of such monies; and

                                                   41
                d.     Doe Defendants 1-100 were either Administrators or otherwise

participated in the conduct of the Enterprise, by providing necessary services for the Enterprise,

while knowing or recklessly disregarding the fraudulent nature of the Enterprise.

         B.     A continuous pattern of racketeering activity.

                i.     Mail/wire fraud in violation of 18 U.S.C. §§ 1341 and 1343.

         103.   Each Defendant engaged in multiple acts of mail/wire fraud, including aiding and

abetting mail/wire fraud, beginning no later than early 2020.

         104.   For example, no later than early 2020, A Fei began marketing the Deposit

Scheme to WeChat users in the United States and hiring Administrators to operate it, while

knowing or recklessly disregarding that the Deposit Scheme was a Ponzi scheme and a fraud.

         105.   By 2021, the Deposit Scheme was in full swing, and the Administrator

Defendants, as well as Defendants Zhu and ASZ, were actively working as Administrators to

operate the Scheme, while knowing or recklessly disregarding that it was a Ponzi scheme and a

fraud.

         106.   Defendants A Fei and the Administrator Defendants repeatedly made

misrepresentations about, or directed that others make misrepresentations or omissions about the

true nature of the Deposit Scheme by, for example: (1) asserting that the source of monies for

refunding the Deposits was something other than Deposit payments made by later customers; (2)

failing to disclose that the source of monies was Deposit payments made by later customers, i.e.,

that it was a Ponzi scheme; and (3) asserting that the operators of HomeX were trustworthy and

had a good track record of ensuring that Deposits were refunded, while failing to disclose that,

to the extent past customers had gotten refunds, they had been funded by Deposits made by later

customers. In addition, Defendants’ false returns submitted to Amazon constituted false and


                                                42
misleading statements because they omitted that the return was a fiction and that its true purpose

was merely to generate funds. Defendants A Fei and the Administrator Defendants made such

misrepresentations and omissions, or directed that they be made, virtually every day, to

countless customers across the United States from no later than early 2020 to at least late 2022.

         107.   Meanwhile, Defendants Zhu and ASZ actively helped Defendant Shen operate

the Deposit Scheme, while knowing or recklessly disregarding that it was a Ponzi scheme and a

fraud.

         108.   All Defendants did so while intending to induce customers, including Plaintiffs

and the Class, to pay money to the Enterprise.

         109.   All Defendants operated or helped to operate the Deposit Scheme daily and

continuously until at least late 2022.

         110.   In so doing, all Defendants knew that that U.S. mails would be used (to ship

products purchased as part of the Deposit Scheme), and also that U.S. wires would be used (to

transmit WeChat messages that were necessary to the success of the Scheme). Moreover,

because customers were located all over the United States, they knew that their use of the U.S.

mails and wires would cross state lines.

         111.   Additionally, Defendant A Fei also engaged in, directed, and aided and abetted

mail/wire fraud by directing Administrators to instruct customers to initiate fraudulent returns

for purchases made on Amazon.

                ii.    Money laundering in violation of 18 U.S.C. § 1956.

         112.   Each Defendant engaged in multiple acts of money laundering, including aiding

and abetting money laundering, beginning no later than early 2020.




                                                 43
        113.    For example, once the Deposit Scheme was up and running, all Defendants began

sending and receiving monies obtained via the Deposit Scheme to, from, and within the United

States, including across state lines, while knowing that those monies involved the proceeds of a

Ponzi scheme or a fraud.

        114.    They did so with the intention of promoting and operating the Deposit Scheme.

        115.    They also did so knowing that the transactions were at least partly designed to

conceal or disguise the fact that the monies were obtained via a fraudulent Ponzi scheme.

        116.    They continued to do so even after the Deposit Scheme collapsed in late 2022.

        C.      Defendants’ RICO violations injured Plaintiffs and the Class.

        117.    As a result of Defendants’ violations of 18 U.S.C. § 1962(c), Plaintiffs and the

Class lost at least 10 million USD, and are thus entitled to trebled damages from Defendants in

the amount of at least 30 million USD, plus attorneys’ fees and costs.

             COUNT II – RACKETEERING CONSPIRACY – 18 U.S.C. § 1962(c)
                 Against All Defendants, including Doe Defendants 1-100

        118.    Plaintiffs reallege and incorporate by reference each foregoing paragraph as if

fully set forth herein.

        119.    Each Defendant also agreed to personally engage in or aid and abet mail/wire

fraud, as well as money laundering, while knowing that others had similarly agreed to do so, and

while knowing that each their role was part of a larger whole, in furtherance of the HomeX

Enterprise and Deposit Scheme.

        120.    As a result of Defendants’ conspiracy, Plaintiffs and the Class lost at least 10

million USD, and are thus entitled to damages from Defendants in the amount of at least 30

million USD, as well as attorneys’ fees.




                                                 44
       121.    All that must be shown is: (1) that the defendant agreed to commit the

substantive racketeering offense through agreeing to participate in two racketeering acts; (2) that

he knew the general status of the conspiracy; and (3) that he knew the conspiracy extended

beyond his individual role.

       122.    As a result of Defendants’ violations of 18 U.S.C. § 1962(d), Plaintiffs and the

Class lost at least 10 million USD, and are thus entitled to damages from Defendants in the

amount of at least 30 million USD, as well as attorneys’ fees.

                                 VIII. REQUESTED RELIEF

       Based on the foregoing, Plaintiffs respectfully request that the Court:

       A.      Certify this action as a class action under Rule 23 of the Federal Rules of Civil

Procedure;

       B.      Award compensatory and punitive damages to Plaintiffs and the Class;

       C.      Award attorneys’ fees and costs;

       D.      Enjoin Defendants from operating the HomeX Enterprise, the Deposit Scheme,

the False Amazon Return Scheme, and similar enterprises and schemes; and

       E.      Grant other relief as the Court deems just and proper.

                                    IX.     JURY DEMAND

       Plaintiffs demand a trial by jury on all issues so triable.

 Date: July 2, 2024                                 /s/Alexander Heckscher
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